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                        EXHIBIT C
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                                    SUB-ADVISORY AGREEMENT

                  TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP

        THIS SUB-ADVISORY AGREEMENT (this - Agreement- ) is made as of the Ife day of June.
2020 (the - Effective Date- ) by and between Tecumseh-Infinity Medical Receivables Fund. LP. a Delaware
limited partnership (the - Company") and Infinity Capital Management. Inc.. a Nevada corporation (the
- Sub-Adviser).

       The Company desires to retain Sub-Adviser to the Company to perform certain services and Sub-
Adviser is willing to perform the services on the terms described below. In consideration of the mutual
promises contained herein, the parties agree as follows:

         I. Appointment ofSub-Adviser andSemites. The Company hereby retains the Sub-Adviser and
the Sub•Ad% iscr hereby agrees to pros ide certain see ices to the Company that are set forth on Exhibit A,
attached hereto as the same may be updated from time to time, or as otherwise mutually agreed to by the
parties (collecti% cry . the 'Sen•iees- ).

         2. Compensation. In full and complete payment for all services provided by the Sub•Adviser and
for all obligations assumed by the Sub•Adviser hereunder, the Company agrees to remit to the Sub-Adviser
(or its designee) the compensation as set forth in Exhibit B. attached hereto (the - Compensation"). Sub-
Adviser v.ill pay any associated sales fees, commissions, or direct operating costs of its own operating staff
from the Acquisition Fee (as defined in Exhibit B).

        3. Term and Termination.

        (a)      Term. The term of this Agreement uill commence as of the Effective Date, or such other
date as agreed upon by the parties, and will continue until December 23. 2023. unless otherwise extended
by the parties upon mutual agreement (the - Term"). The last day on which the Sub-Adviser is engaged by
the Company. whether such separation is voluntary or involuntary or is with or without Cause (as defined
below), is referred to herein as the - Termination Date." On or immediately following the Termination
Date. the Sub-Adviser agrees to return any and all confidential information or property belonging to the
Company in the Sub•Adviser's custody (including. without limitation. e-mails. papers. notes. and other
company documents. agreements. or records relating in any way to the Company's business, unless the
Sub-Adviser has received the written consent of the Company specifying otherwise.

        (b)       Termination Event. This Agreement will terminate immediately upon the first occurrence
of any of the following events (each, a (- Termination Event"):

                 (i)     the expiration of the Term:

                  (ii)   the dissolution of the Sub•Advisor or death of the Sub-Adviser's owners in which
case any payments owed to the Sub-Ad% iscr by the Company for Services performed during the Term will
still be paid to the Sub-Adviser, or

                  (iii) the delivery of written notice of termination by the Company after the Sub-Adviser
has become unable to perform the Sub-Adviser's duties to the Company by reason of illness or incapacity.
which illness or incapacity results in the Sub•Adviser's failure to discharge the Sub•Adviser's
responsibilities.




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         (c)       Cause Eycnr. Notwithstanding anything to the contrary contained herein. the Company
1113). without prejudice to any other right or remedy it may have. terminate this Agreement. at any time.
immediately upon written notice to the Sub-Ads iser for Cause. For purposes of this Agreement. - Cause-
means: (i) the Sub-Ads iser's owners being cony icted of or pleading no contest to any felony: (ii) the Sub-
Ads iser's owners' conviction of. or pleading no contest to. any crime or act of dishonesty. fraud or moral
turpitude: ( i ) the owners of Sub-Adviser engaging in any intentional conduct which is in reckless disregard
of the Company or the Company's business, or materially injurious to the Company or its affiliates. and
such conduct has not been cured within thirty (30) days after written notice from the Company to the Sub-
Ads iser: (iv) the Sub-Adviser's material or habitual neglect through absenteeism or other dereliction of
duties hereunder, and such neglect has not been cured within ten (10) days after written notice from the
Company to the Sub-Ads iser. or (y) the Sub-Ads bees failure to perform or obsene any other material
provision of this Agreement or any other substantial lawful obligation of Sub-Adviser's engagement
hereunder, and such failure has not been cured within thirty (30) day salter written notice from the Company
to the Sub-Adviser (each. a "Cause Event- ) under this Agreement for a continuous period of sixty (60)
calendar days.

        (d)      Post-Cense Event. Upon the Sub-Adviser's termination for a Cause Event. the Sub-
Ads iser will not be entitled to receis e any further such Compensation set forth in Exhibit B. except any
accrued but unpaid pro rata amount of Compensation (as defined in Exhibit 13) owed for the month in
which the Termination Date occurs.

         4. Relationship Between Sub-Adviser and Company. Sub-Adviser's relationship with the
Company "ill be that of an independent contractor and not that of an employee. agent. or representative of
Company. The Sub-Ads iscr v%ill have no authority to enter into contracts that bind the Company or create
obligations on the part of the Company. except for contracts that enable Sub-Adviser to fulfil its duties in
providing the services to the Company as set forth in Section I of this Agreement. The Sub-Adviser will
supervise the performance of its employees if any . and will have control of the manner and means by which
the Sen ices arc performed. consistent with the terms of this Agreement.

         S. Indemnification. The Company will indemnify. defend and hold harmless Sub-Adviser from
and against all liabilities. costs and expenses (including reasonable attorneys' fees) resulting from third
party claims or suits arising out of or in connection with the Services or Sub-Adviser's role as a sub-adviser
to the Company or that may otherwise be asserted against Sub-Adviser by any party relating to the Company
or its business, except to the extent that such liabilities. costs and expenses result from Sub-Adviser's bad
faith. gross negligence or fraud, as determined by a court or arbitrator of competent jurisdiction. Sub-
Ad% iser w ill promptly notify the Company in writing of any such claim or suit and the Company will have
the right to fully control the defense and settlement thereof. provided that any settlement will include a
general release of Sub-Adviser and will not include any admission of liability by Sub-Adviser. If the
Company fails to promptly assume control of the defense or settlement of such claim or suit. Sub-Adviser
will have the right to do so on such terms as Sub-Adviser deems appropriate and the Company will
indemnify Sub-Adviser therefor.

        6. Indemnification of Legal Fees. The company will indemnify the sub-Advisor for legal fees
incurred when an attorney needs to be appointed to assist with the collection of receivables.

         7. Confidential Information. The parties agree that all non-public records, information, contacts,
and data relating to the business of the other (including. without limitation, any and all non-public. personal
information regarding the Company. the investments held by the Company (the - Investments"). any of the
investors participating in such Investments (each, an - Inv estor )) that are exchanged or negotiated pursuant
to this Agreement or in carry ing out this Agreement (the "Confidential Information") are, and will remain.
confidential. The parties agree: (a) not to disclose or use such Confidential Information except (i) as



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necessary to perform the services and obligations under this Agreement. or (ii) as required by law or by an
order of a court, got cmmental agency. or regulatory body ; and (b) to cooperate with each other and provide
reasonable assistance in ensuring compliance with all securities and Kis acy laws. whether state or federal.
to the extent applicable to either or both of the parties.

        8. Other Activities. The Services of the Sub-Adviser to the Company arc not to be deemed to be
eXCIUS3NC. and the Sub-Adviser and any persons controlled by or under common control with the Sub-
Ads iser arc free to render similar sen ices to others. The Sub-Adviser and its affiliates may give advice
and take action in the performance of duties to others that may differ from Services pros ided to the
Company under this Agreement.

           9. Communications and Electronic Delivery-.

         (a)      Unless otherwise specified herein. all communications contemplated by this Agreement
will be deemed to be duly gisen: (i) when excised by the Company from the Sub-Adviser orally or
electronically: (ii) when excised by the Sub-Adviser from the Company in writing at the Sub-Adviser's
address if delivered in-person or through U.S. mail or overnight courier. (iii) when deposited by the Sub-
Adviser if sent by first class mail or es emight courier addressed to the Company at the Company's address
listed herein: or (is I w hen delis ered to the Company at an e-mail address specified by the Company from
time to time (the "Email Address- I. All notices delivered to the Company will be deli% ered to the address.
Email Address or facsimile number set forth in Section 9(c) of this Agreement, as amended from time to
time. Either party may change its contact information by delivering written notice to the other delis <Ted in
accordance with this Section 9(a).

         (b)       Notwithstanding any other pros isions of this Agreement. the parties hereby acknowledge
and agree that. consistent with Section 4(a) abosc, the parties may deliser communications and documents
by electronic means rather than orally or by traditional mailing of paper copies. The consent granted herein
will last until res eked by the Ads iser.

           (c)     All written communications will be addressed as follows:

If to the Company:                                                If to the Sub-Adviser.

Tecumseh-Infinity Medical Receisables Fund. LP                    Infinity Capital Management
Attn: Tecumseh A Iternatis es. LI.0                               1700 W. Horizon Ridge Parkway
.668 Morris Hunt Dris c                                           Suite 206
Fort Mill. South Carolina 29708                                   Henderson. NV 89012
cm es er ti tecumsehalts.com                                      Anneri.infinitycapital.com




         10. .4ssignment This Agreement may not be assigned by either party without the written consent
of the other party .

            11. General Provisions.

        (a)      Unless otherwise agreed upon in writing by the Panics. this Agreement will be gosemed
by and interpreted under the laws of the State of South Carolina without gis ing effect to its conflicts of 131%
principals. The Company and the Sub-Adviser agree that any appropriate state court located in York
County. South Carolina or any federal court located in United Stated District Court for the District of South




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Carolina will hale exclusive jurisdiction over any case or controversy arising under or in connection nit!)
this Agreement and sill be a proper forum in which to adjudicate such case of controversy. The panics
hereto consent to the jurisdiction of such courts.

        (b)      Each provision of this Agreement is intended to be severable. If any term or provision is
held to be invalid, void or unenforceable by a court of competent jurisdiction for any reason whatsoever.
such ruling will not affect the validity of the remainder of this Agreement. unless to do so would defeat an
essential purpose of this Agreement.

        (c)      This Agreement. including any exhibits attached hereto, embodies the entire Agreement of
the parties hereto with respect to the subject matter hereof, and all prior agreements. understandings and
negotiations art merged herein and superseded hereby.

      (d)      This Agt 'lent. including an> Exhibits attached hereto. may not be amended unless the
amendment is in writing and signed by the parties sought to be bound.

       (e)     This Agreement may be executed in two or more counterparts. each of which will be
deemed an original. but all of which taken together will constitute one and the same Agreement.

        (f)      The Company represents and warrants that the Company is authorized and empowered to
enter into this Agreement. If this Agreement is being signed on behalf of a corporation, partnership. trust
or other business or legal entity, the Company further represents and warrants that applicable law and the
Company ' s go% erning documents authorize and permit this Agreement.

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         IN WITNESS WHEREOF. the Panics hereto have executed this Agreement as of the date first
Written above.


                                            - COMPANY-

                                            Tecumseh-Infinity Medical Receivables Fund, LP

                                            Bs: Tecumseh Alternatives. LLC. its ans,.11 Partner


                                            Be:

                                            Name:       17.44-M-14        ff-k,./C
                                            Title:     iafiro/i)

                                            "SUB-ADVISER-

                                            Infinity Capital Management


                                            BN:       ANNE PANTEL

                                            Name:

                                            Title:    PRESIDENT




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                                                  EXHIBIT A

                                                  SERVICES

        1.       General Services.

           (a)      The Sub-Ad% iscr agrees to assist the Company in acquiring an interest in medical
rt.-eels ables in connection with personal injury cases in the U.S. (the - Receivables"). The Sub-Ads iser will
source the Receivables from various medical service providers and pharmacies (the "Medical Service
Providers") and law firms (each. a "Law Finn- ) within the United States (the - Territory- ) in connection
to sen ices rendered to plaintiffs (each. a "Plaintiff') for treatment relating to personal injury claims (each.
a "Claim") within the Territory

         (h)      After a thorough review of the identified Receivable by the Sub-Adviser, the Sub-Adviser
will liaise directly with the Medical Service Provider to negotiate the purchase of the Receivable by the
Company at a discount rate (the - Purchase Price- ) for purchase by the Company.

           (c)      In connection to each Recei% able approved for purchase by the Company, the Sub-Adviser
v. ill arrange for the Company to simultaneously secure a lien or equivalent legal security or other document
that is determined as satisfactory by the Sub-Adviser at its sole discretion (the "Lien") from the Plaintiff
ancl'or Plaintiff's attorney against any settlement the Plaintiff receives upon resolution of their Claim
("Settlement Proceeds"). Each lien or its equivalent as stated herein. secure for the Company the total
retail cost of all Receis ables for medical sen ices pros ided to the Plaintiff during the life of their Claim (the
"Retail Cost").

       2.       Types of Receivables. Unless otherwise directed by the Company in writing, the
Receivables sourced by the Sub-Ads iser will generally be related to medical sen ices provided to Plaintiffs
by Medical Sen ice Providers in the following sectors (each, a - Receivable Sector"):

        la)      Medical treatments ranging from primary care physician ("PCP") office visits. specialist
office skits. and complex surgeries and therapies.

         (b)    Medical imaging. including medical resonance imaging (- MRI- ). X-rays. CT-scans, and
radio frequency analysis.

        (c)      Pain management procedures. focusing on alternatives to surgery such as physical or
chiropractic therapy. interventional procedures. acupuncture and other altematis e therapies. and medication
management: and

        (d)      Pharmaceutical prescriptions.

        (e)      Funding for Medical Record deferred payment plans.



        3.     Duties and Responsibilities. In furtherance of. and in addition to. the Sen ices described
above. the Sub-Ads bet will:

     (a)       Use reasonable efforts to utilize its network of attorney's and sen ice providers to identify
commercially viable Receivables for purchase by the Company.




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        (b)    Liaise directly vvith the Medical Service Provider to negotiate a favorable Purchase Price
for the Receivable and facilitate purchase of the Receivable by the Company directly from the Medical
Service Provider.

       (d)     Include a contract which may involve an assignment of interest in a Receivable. between
the Company and Medical Service Provider to evidence the sale of the Receivable to the Company by the
Medical Sen ice Provider.

       (e)      Track and manage for the Company in a log (the - Receivables Log- ) (i) all Receivables
purchased by the Company. and (ii) any collections of Settlement Proceeds for each Receivable: and

       (f)      The Sub-Adviser trill provide a copy of the Receivables Log to the Company no less than
weekly.

4.      Due Diligence Process. Utilizing a proprietary due diligence process, the Sub-Adviser, in
conjunction with qualified legal professionals and Law Firms selected by the Sub-Adviser, will conduct a
thorough review of all Receivables to help identify only those most suitable for purchase. Such a review
typically considers a number of factors, including but not limited to:

        (a)     the strength of the claim and likelihood of success:

        (b)     the potential value of a claim both following adjudication and for settlement purposes:

        (c)     enforceability of an ultimate award:

        (d)     financial condition of the respondent or defendant:

        (e)     the likely cost of litigating the claim:

        (0      regulator• and ethical risks, if any. in the relevant jurisdiction:

        (g)     timing to get through arbitration or trial and final judgment: and

        (h)     timing and likelihood of settlement.




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                                                EXHIBIT B

                                            COMPENSATION

           In exchange for the Services described in Exhibit A. the Company will pay to the Sub-Adviser

           (a)    an acquisition fee (the - Acquisition Fee- ) equal to twenty percent (20%) of the Purchase
                  Price of each Receivable purchased by the Company. At any time . where Company has
                  available funds to purchase Receivables. Company Hill advise Sub-Ads iser by issuing a
                  Purchase Order in the amount that is available to purchase Receivables and Sub-Adviser
                  will use 100% of those funds to purchase Receivables, as set forth in this Agreement. Upon
                  the completion of the purchase of the Receivables by the Company. an invoice will be
                  generated by the Sub-Ads iser for the Twenty Percent Sub-Advisory fee that is owed and
                  payable on demand to Sub-Adviser by the Company for the services provided by Sub-
                  Ach iscr under this Agreement: and

           lb)    to the extent (i) a Plaintiffs case is settled. and provided that (ii) the Company's portion
                  of the Settlement Proceeds subject to the Lien exceeds the Purchase Price of the
                  Receivable. the Sub-Adviser will receive a fee equal to fifteen percent (15%) of the
                  Receivable Spread. The Receivable Spread is defined as the difference between the amount
                  received from the attorney or insurance company for the settlement of a receivable and the
                  Cost paid for that Receivable, less associated legal fees, and less the Acquisition Fee that
                  was previously paid to the Sub-Ads iser (the - Final Sub-Advisory Fell, gross of any
                  other fees or expenses paid by the Company as provided in the Company's private
                  placement memorandum (the - Memorandum'): the limited partnership agreement (the
                  "Partnership Agreement- ): or the subscription booklet (the "Subscription Rockier and
                  together with the Memorandum and the Partnership Agreement. the "Offering
                  Documents- 1. These documents are all outside the terms of this Sub-Ads isors Agreement.




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                                             ADDENDUM A

                               Modification to Sub-Advisory Agreement


This ADDENDUM A modifies "EXHIBIT B: COMPENSATION" in the original, executed
"Sub-Advisory Agreement/Tecumseh-Infinity Medical Receivables Fund, LP" dated June l8,
2020 in the following ways:

    (a) infinity will continue to earn, and be paid immediately, an acquisition fee (the "Acquisition Fee")
        equal to twenty percent (20%) of the Purchase Price of each Receivable purchased by the
        Company when new investor cash is being used. When Settlement Proceeds from a Receivable
        held by the Company is used to purchase Receivables, Infinity will earn also earn an Acquisition
        Fee of twenty percent (20%) of the Purchase Price of each Receivable purchased, but will be
        paid out as follows: half (ten percent '10%') paid immediately, and half (ten percent '10%') paid
        according to the contingency schedule below ("Contingency Payments").
    (b) infinity will continue to earn 15% of the Receivable Spread on any Receivable purchased by the
        Company and it will all be paid according to the contingency schedule below ("Contingency
        Payments").



Contingency Payments

Upon the termination of the Company, or 60 days after December 23, 2023, whichever is later, the
Company's third-party administrator will calculate an average Investor annual internal rate of return
"IRR", over the life of the Company, net of all fees and expenses, but not net of expenses considered
"Contingency Payments" per this section.

        If the IRR is between 20% and 21%, then 10% of the total of what had not yet been paid in (a)
and (b) above will be paid by the Company to infinity, and 90% will be forgiven by Infinity and will no
longer be payable by the Company to Infinity, and will be distributed to Investors.
        For each additional IRR percentage point, another 10% of the total of what had not yet been
paid in (a) and (b) above will be paid by the Company to Infinity, and 10% less will be forgiven by infinity
and no longer considered payable by the Company to infinity, and distributed to investors.

         if the IRR reaches or exceeds 30%, then 100% of what had not yet been paid in (a) and (b) above
will be paid by the Company to Infinity.


                                         [Signature page follows]
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      IN WITNESS WHEREOF, the Parties hereto have executed this ADDENDUM A to the "Sub-Advisory
Agreement/Tecumseh — Medical Receivables Fund, LP".


                                           "COMPANY"

                                           Tecumseh-Infinity Medical Receivables Fund, LP

                                           By: Tecumseh Alternatives, LLC, its General Partner


                                           By:

                                           Name:      aae41./,a,         ./7/-0-yv
                                           Title:


                                           Date:    1./r/g/


                                           "SUB-ADVISER"

                                           Infinity Capital Mana


                                           By:

                                           Name:                               \,(4-         c
                                           Title:      te-rD
                                           Date:                       c)-
